          Case: 1:16-cv-07227 Document #: 21 Filed: 09/01/16 Page 1 of 3 PageID #:86
                                                                         AMH/SBD IML.16213


                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SHARON MITCHELL

                         Plaintiff               Court No. 16-cv-7227
v.
                                                 Judge Edmond E. Chang
PLANO POLICE DEPARTMENT; CITY OF
PLANO; PLANO CITY ZONING AND
ENFORCEMENT; OFFICERS JOHY BEERY;                Jury Trial Demanded
ROBERT HERNANDEZ; ANTHONY
JOURTAS; SHAWN BARKS; AARON
SMITH; LT WHOWELL; TOM ROMANO,
TRISH HUTSON; SUSAN NELSON;
UNKNOWN INDIVIDUALS TO BE NAMED
THROUGH DISCOVERY

                         Defendants

                                       NOTICE OF MOTION

To:        See Attached Service List

YOU ARE HEREBY NOTIFIED that on September 8, 2016 at 8:30 a.m., or as soon thereafter
as counsel may be heard I shall appear before the Honorable Edmond E. Chang or any other
judge sitting in Everettr McKinley Dirksen United States Courthouse, 219 South Dearborn
Street, Courtroom 2119, Chicago, IL 60604, and shall then and there present the following
Motion(s), a copy of which is attached hereto and herewith served upon you:

      •    MOTION TO DISMISS PLAINTIFF'S COMPLAINT

                                            BRANDIN FREDERICKSEN

                                            By: __/s/ Alison Harrington________________
                                                           One of his attorneys
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     Case: 1:16-cv-07227 Document #: 21 Filed: 09/01/16 Page 2 of 3 PageID #:87



                               CERTIFICATE OF SERVICE

       I, the undersigned, state that I caused copies of the foregoing to be served, with
enclosures referred to thereon, if any, by electronic filing via CM/ECF to the attorney(s) of
record at the address(es) from 25 E. Washington, Suite 800, Chicago, IL 60602 prior to 5:00 p.m.
on September 1, 2016.
                                                      _______/s/ Alison Harrington_______




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Re:    Mitchell v. Plano Police Department, et al.
       Case No.:
       BVH File No.: IML.16213


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